                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF WISCONSIN


JOHN M. ANDERSON, et al.,

             Plaintiffs,

      v.                                       Case No. 23-CV-1430

WISCONSIN DEPARTMENT OF
CORRECTIONS, et al.,

             Defendants.


   DEFENDANTS’ MOTION TO STAY MERITS DISCOVERY PENDING A
  DECISION ON THEIR MOTION FOR PARTIAL SUMMARY JUDGMENT
                  FOR FAILURE TO EXHAUST


      Defendants, through undersigned counsel, ask this Court to stay all discovery

except only discovery related to the issue of exhaustion of administrative remedies

pending a decision on their motion for partial summary judgment for failure to

exhaust, which is being filed concurrently with this motion. The grounds for this

motion are as follows:

      1.     Defendants are concurrently filing a motion for partial summary

judgment due to the Plaintiffs’ failure to exhaust their administrative remedies.

      2.     That motion, if granted, would result in the dismissal of eight of the ten

named Plaintiffs and leave no Plaintiffs asserting causes of action under the isolation

or mental health subclasses.




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         3.   While a motion for summary judgment on exhaustion is pending, merits-

related discovery must be stayed under Pavey v. Conley, 544 F.3d 739, 742 (7th Cir.

2008).

         4.   Plaintiffs have propounded voluminous discovery all related to the

merits of the claims of all ten Plaintiffs and class level claims even though the Parties

have not yet briefed the issue of class certification.

         5.    If the motion for summary judgment on exhaustion is granted, the

Defendants’ motion would eliminate 80% of the Plaintiffs in this case, leaving two

Plaintiffs, each with one exhausted complaint. Merits based discovery related to all

the Plaintiffs and class level claims must be stayed until the exhaustion motion is

resolved.

         6.   A stay would also avoid unnecessary time, expense, and inconvenience

to this Court and the parties, as required under Pavey to fulfill the statutory goals of

the PLRA. Id. at 742.

         7.   Finally, a stay would not impact this Court’s ability to exercise its

jurisdiction in a timely manner, nor would it prejudice the Plaintiff, as the

Defendants are not moving to stay any other case deadlines. In the event that the

scheduling order in this case needs to be modified, the Parties and the Court can work

together to amend the scheduling order as necessary.

         For the reasons above, Defendants ask this Court to stay merits related

discovery pending a decision on their motion for partial summary judgment for failure

to exhaust.




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      Dated March 25, 2024.

                                  Respectfully submitted,

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